Case 5:24-cv-12647-JEL-KGA ECF No. 82, PagelD.1660 Filed 01/02/25 Page 1 of 6

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN | LE
SOUTHERN DIVISION

JAN 02 2025
CLERK'S Ofrice
DERRICK LEE CARDELLO-SMITH, DETRO
0 Plaintiff Case No 5:24-12647
Ve' Hon. Judith levy

Defendant,

NOTICE OF SUBMISSION OF
PLAINTIFFS RECEIPT SHOWING $150,000.00 DEPOSIT BY PLAINTIFF INTO BAD BOY RECORD
FOR 49% PERCENT OF BAD BOY RECORDS IN 1997 ONLY TO 8E PAID
If DEFENDANT INVOLVED HIMSELF IN ANY FURTHER
STATE OR FEDERAL CRIMES AFTER RAPING PLAINTIFF

Plaintiff nereby presents this Offer of Proof to verify and show that
the Plaintiff did in fact invest $150,000.00 into bad boy records in 1997
and the terms of the agreement, which have been violated by the Defendant.

This proof is what the Defendants Lawyer, David Fink and Erika Wolfe
(Wolff) have been saying never happened, and in fact, it did happen in 1997
and the agreement shows that the Defendant and their lawyers have lied many

many times.

Tne Plaintiff has shown without any doubt the claims of this Plaintiff
and that The Defendant worked with Now Prosecutor and then Judge Kym Worthy
to cover up the crime committed upon this Plaintiff by Defendants and the
document verifies that even though it is almost 30 years old, it is still a
legally binding document which the Defendant has in fact violated by

committing crimes and as such, it must be admitted into the record.

Thank you for your time in this matter.

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Case 5:24-cv-12647-JEL-KGA ECF No. 82, PagelD.1661 Filed 01/02/25 Page 2 of 6

espectfully Yours, December 22, 2024

. Derrick Lee Carciello-Smith
#26 7/005

E.C. Brooks Correctional Facility
2500 S. Sheridan Drive

Muskegon, MI 49444

2)
Case 5:24-cv-12647-JEL-KGA ECF No. 82, PagelD.1662 : Filed 01/02/25 Page 3 of 6
Bad Boy Records Label and Company
Po, , ’ .. Recording Studios and Company ”
, New York, New York 10019-524

SNvOICE.
on TO: Mr. Derrick Lee Cardello-Smith (Hospitality). . ~ -
Detroit, Michigan 48205 =e a

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.. January 3, 1997 » Transaction No. 97:1090108 yj “Jnvestment Business Service’ ‘Detroit,’ Michigan os

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Description. Livestment | Total Amount

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LCL

Bad Boy Recofds Labél; Corporations Holdings,
Developmenits; Artists, Records, Shares, Stocks,

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| Future Projects,,Real Estate, Properties, Homes,

Contracts, Agents, Production, Film,.Mus
Any Future Holdings, Items, Sirigers, W.
Holdings, Checking ad Be

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Hy * Nitary Public Siate of Michigan’, “|

“Adting in the Gounty dayne. J. &

Sub Total Le
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ABOVE - Recording Deal.
ss - _* Grand Total’ $150,

000.00. .
Case 5:24- (VBS GEG ORION? 92, Poca PRIS4: nes BUTI 2/25 Page 40f6

BETWEEN KYM. L. WORTHY JUDGE).
*- SEAN JOHN, COMBS (ARTIST). me

Se, DERRICK: LEE CARDELELO-SMITH- ...
WAITER: BARTENDER: HOSPITALL I oO

1. Sean, ‘Combs; Music. ‘Produar’

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RECORDS S INCOREORAEED AND: Con

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- or Federal Charges and. agrees to Slop Sexually ABEdirg_ AAG SExisatly0 AessetalingPEQUNS of 6
Teenage Girls and Women and Boy and Men, and no jong participate in Sexual Slavery.

‘of September AUGUST 18, 1997 to uphold

All persons agree and swear to this onthe date
11 page agreement not made public.

the full terms of this agreement that is Public and the

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SO aoe

Case 5:24-cv-12647-JEL-KGA ECF No. 82, PagelD.1665 Filed 01/02/25 Page 6 of 6

Mr. Derrick Lee Cardello-Smith
#267009

E.C. Brooks Correctional Facility
2500 S. Sheridan Drive

Muskegon, MI 49444

Mailed on 12-23-24
Case No 5:24-12647

Office of the Clerk

United States District Court
Theodore Levin US Courthouse

Case Management Section-Room 564

231 W. Lafayette Blvd

Detroit, MI 48226

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